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                              UNITED STATES DISTRICT COURT
                                                                                              AUG f 6 2018
                              SOUTHERN DISTRICT OF FLORIDA                                  STEVEN M. LARIMORE
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                                          18U.s.C.§371           CR . 1M . _ ,. -
                                          18 u.s.c. § 1956(h)    - ~0
                                                                    · , 1TRO-U·LEA~s
                                          18 U.S.C. § 1956(a)(2)(A)
                                          18 u.s.c. § 981(a)(l)(C)             .   IMTI'HEWMAN
                                          18 U.S.C. § 982(a)(l)

  UNITED STATES OF AMERICA,

  vs.
                                                                        FILED UNDER SEAL
  RAUL GORRIN BELISARIO,

                         Defendant.



                                            INDICTMENT

         The Grand Jury charges that:

        . At all times relevant to this Indictment, unless otherwise specified:

                                            COUNTl
                     Conspiracy to Violate the Foreign Corrupt Practices Act
                                        (18 u.s.c. § 371)

                           RELEVANT STATUTORY BACKGROUND

        . 1.     The Foreign Corrupt Practices Act of 1977, as amended, Title 15, United States

  Code, Sections 78dd- l, et seq. (the "FCP A"), was enacted by Congress for the purpose of, among

  other things, making it lmlawful to act corruptly in furtherance of an offer, promise, authorization,

  or payment of money or anything of value to a foreign government official for the purpose of

  assisting in obtaining or retaining business for, or directing business to, any person.
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                          RELEVANT ENTITIES AND INDIVIDUALS

        2.       Defendant, RAUL GORRIN BELISARIO, was a citizen and national of

 Venezuela, who at various periods of the conspiracy was a resident of the United States, having

 maintained a residence in Coral Gables, Florida.

        3.       "Company 1" was a company incorporated and registered in Panama, and is

 beneficially controlled by defendant, RAUL GORRIN BELISARIO.

        4.       "Company 2" was a company incorporated and registered in Panama, and is

 beneficially controlled by defendant, RAUL GORRIN BELISARIO.

        5..      "Company 3" was a company incorporated and registered· in Panama, and is

 beneficially controlled by defendant, RAUL GORRIN BELISARIO.

        6.       "Foreign Official I" was a citizen and national of Venezuela and served as a high

 level official with decision-making authority and influence within the Oficina Nacional del Tesoro

 ("ONT"); the Venezuelan National Treasury, from in or around 2007 through in or around 2010,

 and thus was a "foreign official" as that term is defined in the FCP A, Title 15, United States Code,

 Sections 78dd-2 (h)(2)(A) and 78dd-3(f)(2)(A).

        7.       ''Foreign Official 2" was a citizen and national of Venezuela and served as a high

. level official with decision-making authority and influence within the ONT, from in or around

 2011 through in or around 2013, and thus was a "foreign official" as that term is defined in the

 FCPA, Title 15, United States Code, Sections 78dd-2 (h)(2)(A) and 78dd-3(f)(2)(A).

        8.       "Co-Conspirator 1" was the spouse of Foreign Official 2 and a citizen and national

 of Venezuela.

        9,       "Foreign Bailk Official" was a Venezuelan citizen and national and an owner of

 "Foreign Bank," a bank located in the Dominican Republic. Foreign Bank Official was a "person"



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 and an "agent" of a person as those terms are defined in the FCP A, Title 15, United States Code,

 Section 78dd-3(f)(l).

                                  GENERAL ALLEGATIONS

        10.     Beginning in or around 2008, RAUL GORRIN BELISARIO offered and agreed

 to pay bribes to Foreign Official 1 for purposes of obtaining and retaining business; specifically,

 influencing and inducing Foreign Official 1 to permit RAUL GORRIN BELISARIO .to conduct

 foreign currency exchanges for the Venezuelan government and securing an improper advantage

 in acquiring the right to conduct such exchange transactions.

        11. ·   In or around.2010, RAUL GORRIN BELISARIO partnered with Foreign Bank

 Official to acquire Foreign Bank to assist in laundering bribes paid to Venezuelan officials and the

 proceeds of this and other schemes.

        12.     From in or around 2011 through in or around 2017, after Foreign Official 1 left

 office, RAUL GORRIN BELISARIO caused bribe payments, totaling at least approximately $94

 million to be paid for the benefit of Foreign Official 1, for the purpose of (a) continuing to make

 the bribe payments referenced in Paragraph 10 above; (b) preventing Foreign Official 1 from

 interfering with or impeding the ongoing scheme; and (c) to reward Foreign Official 1 for

 introducing RAUL GORRIN BELISARIO to Foreign Official 2 and facilitating the continuation

 of the bribery scheme with Foreign Official 2. For example, to carry out the payments to Foreign

 Official l;RAUL GORRIN BELISARIO wired approximately $1.78 million from accounts in

 Switzerland to accounts in the Southern District of Florida and the Southern District of New York

 between in or around December 2012 until in or around June 2013, for the benefit of Foreign

 Official I and in furtherance of the scheme. .




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          13.      RAUL GORRIN BELISARIO used both personal bank accounts and bank

  accounts held by companies that he beneficially owned and controlled to wire bribe payments.

          14.      In or around 2011, when Foreign Official 2 replaced Foreign Official 1 in office,

  Foreign Official 1 introduced RAUL GORRIN BELISARIO to Foreign Official 2 and Co-

  Conspirator 1.

          15.   ·Beginning in or around 2011, RAUL GORRIN BELISARIO offered and agreed

  to pay bribes to Foreign Official 2 and Co-Conspirator 1 for purposes of influencing and inducing

 · Foreign Official 2 to permit RAUL GORRIN BELISARIO to conduct foreign. currency

  exchanges for the Venezuelan government and securing an improper advantage in acquiring the

  right to conduct such exchange transactions.

         16.       From in or around 2011 through m or around 2013, RAUL GORRIN

  BELISARIO caused bribe payments, totaling at least approximately $65 million to be paid for

 . the benefit of Foreign Official 2. For example, to carry out the payments to Foreign Official 2,

  RAUL GORRIN BELISARIO wired approximately $8.6 million from accounts in Switzerland

  to accounts in the Southern District of Florida between in or around November 2012 until in or

  around May 2013 for the benefit of Foreign Official 2 and Co-Conspirator 1 and in furtherance of

  the scheme.

         17.       In exchange for Foreign Official 1 introducing RAUL GORRIN BELISARIO to

  Foreign Official 2 and Co-Conspirator 1, while in the Southern District of Florida, RAUL

  GORRIN BELISARIO offered and agreed to pay Foreign Official 1 a portion of the profits of

  his scheme with Foreign Official 2 and Co-Conspirator 1.

         18.       In addition to wiring money to and for the benefit of Foreign Official 1, Foreign

  Official 2, and Co-Conspirator 1, RAUL GORRIN BELISARIO purchased and paid expenses



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 related to approximately three jets, a yacht, multiple champion horses, and numerous high-end

 watches in the Southern District of Florida and Southern District of Texas for Foreign Official l's

 benefit.

            19.   ··RAUL GORRIN BELISARIO also purchased and paid expenses related to jets

 and a yacht in the Southern District of Florida and Southern District of Texas for Foreign Official

 2 and Co-Conspirator l's benefit.

            20.    RAUL GORRIN BELISARIO received invoices and sent correspondence via e-

 mail with vendors for Foreign Official 1, Foreign Official 2, and Co-Conspirator 1, in order to pay

 expenses for Foreign Official 1, Foreign Official 2, and Co-Conspirator 1, which RAUL GORRIN

 BELISARIO caused to be paid via wire transfer from accounts in Switzerland and elsewhere.

         21.      RAUL GORRIN BELISARIO's employees tracked these expense payments

 r~ferenced in paragraph 20   on spreadsheets and emailed updated spreadsheets to RAUL GORRIN

 BELISARIO, Foreign Official 1, and Co-Conspirator 1 reflecting the changes as payments were

 made.

                                       THE CONSPIRACY

         22.       From in or around 2008, through in or around 2017, in Miami-Dade County and

 West Palm Beach County, in the Southern District of Florida, and elsewhere, the defendant,

                                  RAUL GORRIN BELISARIO,

 did willfully, that is, with the intent to furtJ:ier the purpose of the conspiracy, and knowingly

 combine, conspire, confederate, and agree with others, known and unknown, to commit an offense

 against the United States, to wit:

                  a.     being a domestic concern, to willfully and corruptly make use of the mails

 and a means and instrumentality of interstate commerce in furtherance of an offer, payment,


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  promise to pay, and authorization of the payment of money, and offered, gifted, promised to give,

  and authorized the giving of a thing of value to a foreign official, and to a person, while knowing

  that all and a portion of such money and thing of value would be offered, given, and promised,

  directly and indirectly, to a foreign official, for purposes of: (A)(i) influencing an act and decision

  of such foreign official in his official capacity, (ii) inducing such foreign officialto do and omit to

  do an act in violation of the lawful duty of such official, and (iii) securing any improper advantage,

  and (B) inducing such foreign official to use his influence with a foreign government and

  instrumentality thereof to affect and influence any act and decision of such government and

  instrumentality, in order to assist RAUL GORRIN BELISARIO in obtaining and retaining

  business for and with, and directing business to, RAUL GORRIN BELISARIO and others, in

  violation of Title 15, United States Code, Section 78dd-2.

                 b.      while in the territory of the United States, to willfully and corruptly make

  use of the mails and a means and instrumentality of interstate commerce and do an act in

  furtherance of an offer, payment, promise to pay, and authorization of the payment of money, and

  offered, gifted, promised to give, and authorized the giving of a thing of value to a foreign official,

  and to a person, while knowing that all and a portion of such money and thing of value would be

  offered, given, and promised, directly and indirectly, to a foreign official, for purposes of: (A)(i)

  influencing an act and decision of such foreign official in his official capacity, (ii) inducing such

  foreign official to do and omit to do an act in violation of the lawful duty of such official, and (iii)

  securing any improper advantage, and (B) inducing such foreign official to use his influence with

  a foreign government and instrumentality thereof to affect and influence any act and decision of

  such government and instrumentality, in order to assist RAUL GORRIN BELISARIO, and

  others, in obtaining and retaining business for and with, and directing business to, RAUL



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  GORRIN BELISARIO and others, in obtaining and retaining business for and with, and directing

  business to, a person, in violation of Title 15, United States Code, Section 78dd-3.

                                PURPOSE OF THE CONSPIRACY

         23.     It was a purpose of the conspiracy to enrich RAUL GORRIN BELISARIO and

  co-conspirators by making and concealing corrupt payments to foreign officials in Venezuela in

  order to obtain and retain contracts with the ONT in that country.

                        MANNER AND MEANS OF THE CONSPIRACY

         24.     The manner and means by which RAUL GORRIN BELISARIO and his co-

  conspirators sought to accomplish the purpose of the conspiracy included, among others, the

  following:

                 a.      RAUL GORRIN BELISARIO, together with others, while in the
                 I



  Southern District of Florida and elsewhere, would and did discuss in person making bribe

  payments to foreign government officials in Venezuela to secure their assistance in awarding

  contracts to RAUL GORRIN BELISARIO.

                 b.      RAUL GORRIN BELISARIO, together with others, while in the

  Southern District of Florida and elsewhere, would and did offer to pay, promise to pay, and

  authorize the payment of bribes, directly and indirectly, to and for the benefit of foreign officials

  in Venezuela, to secure their assistance in awarding business to RAUL GORRIN BELISARIO.

                 c.      RAUL GORRIN BELISARIO, together with others, while in the

  Southern District of Florida and elsewhere, would and did discuss in person the manner and means

  by which the bribe payments were to be paid.

                 d.      RAUL GORRIN BELISARIO, together with others, while in the

  Southern District of Florida and elsewhere, would and did use Company 1, Company 2, and



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 Company 3 bank accounts, in lieu of or in addition to his own personal bank account at HSBC

 Private Bank (Suisse) SA, as a conduit for the payment of bribes to foreign government officials

 in Venezuela to conceal the bribe payments.

                e.      RAUL GORRIN BELISARIO, together with others, while in the

 Southern District of Florida and elsewhere, would and did cause to be wired certain funds from

 the bank accounts of Company 1, Company 2, and Company 3, as well as his own personal bank

 account at HSBC Private Bank (Suisse) SA, in Switzerland for the purpose of making payments

 to foreign government officials, including Foreign Official 1 and Foreign Official 2, in exchange

 for the officials' assistance in awarding business to RAUL GORRIN BELISARIO.

                                           OVERT ACTS

        25.     In furtherance of the conspiracy and to effect the illegal objects thereof, the

 following overt acts, among others, were committed and caused to be committed in the Southern

 District of Florida and elsewhere:

                (1)     In or around 2010, RAUL GORRIN BELISARIO, Foreign Bank Official,

. and others acquired a financial institution in the Dominican Republic for the purpose oflaundering

 money and paying bribes to Venezuelan officials.

                (2)     In or around 2012, RAUL GORRIN BELESARIO met with Foreign

 Official 1 in the Southern District of Florida to discuss the payment of bribes.

                (3)     On or about June 18, 2012, Foreign Official 2 caused a transfer of a bond

 from the ONT to Company 1's account in Switzerland, which RAUL GORRIN BELISARIO

 was then advised by his bank that it would be liquidated, exchanged, and held in his account and

 that the "contact person is [Foreign Official 2]."




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                 (4)     On or about October 25, 2012, RAUL GORRIN BELISARIO sent an

  email with the subject "485,000" to one of his employees and business partners, attaching wire

  instructions for a yacht company and stating: "Please make the transfer and charge it to [Co-

  Conspirator 1]."

                 (5)     On or about October 29, 2012, RAUL GORRIN BELISARIO caused a

  payment of $485,000 to be wired. from Company l's account in Switzerland to the yacht

  company's (referenced in paragraph 25 (4)) account in the Southern District of Florida.

                 (6)     On or about November 13, 2012, after receiving an email with the details

 ·.for the purchase of a yacht for "[Co-Conspirator l]" for $4.35 million, RAUL GORRIN.

  BELISARIO caused a payment of $4.35 million to be wired from Company l's account in

  Switzerland to a yacht company's account in the Southern District of Florida.

                 (7)     On or about December 11, 2012, Foreign Official 1 e.mailed to RAUL

  GORRIN BELISARIO a copy of an invoice for $14,422 for veterinary services and wire

  instructions for making the payment.

                 (8)     On or about December 12, 2012, RAUL GORRIN BELISARIO caused a

  payment of approximately $15 ,000 to be wired from Company 1's account in Switzerland to the

  veterinarian's (referenced in paragraph 25 (7)) account in the Southern District of Florida..

                 (9)    On or about January 29, 2013, after receiving an email with the details for

  the purchase of a $1,103,371 security system for Foreign Official l's Caracas, Venezuela, home,

  RAUL GORRIN BELISARIO emailed the security system proposal to Foreign Official 1,

  addressing Foreign Official 1 as "Boss," and requested his approval.

                 (10)   On or about January 30, 2013, RAUL GORRIN BELISARIO caused a

  payment of $1,103,371 to be wired from his personal account at HSBC Private Bank (Suisse) SA



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  in Switzerland to the security company's (referenced in paragraph 25 (9)) account in the Southern

  District of Florida.

                  (11)   On or about February 5, 2013, while in Wellington, Florida, Foreign

  Official 1 emailed RAUL GORRIN BELISARIO a copy of an invoice for $174,800 from a horse

  transport company.

                  (12)   On or about February 7, 2013, RAUL GORRIN BELISARIO caused a

  payment of $174,800 to be wired from his personal account at HSBC Private Bank (Suisse) SA in

  Switzerland to the horse transport company's (referenced in paragraph 25 (11)) account in New

  York.

                  (13)   On or about February 15, 2013, Foreign Official 1 emailed RAUL

  GORRIN BELESARIO the identification of the individual who should be paid for expenses
                           '

 related to Foreign Official l's horses.

                 (14)    On or about February 25, 2013, RAUL GORRIN BELISARIO caused a

 payment of $150,000 to be wired from Company 1 's account in Switzerland to the account of the

 individual to whom horse-related expenses were owed (referenced in paragraph 25 (13)) in the

  Southern District of Florida.

                 (15)    On or about March 4, 2013, while in Wellington, Florida, Foreign Official

  1 emailed RAUL GORRIN BELISARIO a copy of wire instructions for a horse transport

  company.

                 (16)    On or about March 7, 2013, RAUL GORRIN BELISARIO, while in

· Southern District of Florida, caused a payment of $228,768 to be wired from his personal account

 .at HSBC Private Bank (Suisse) SA in Switzerland to the horse transport company's (referenced in

 paragraph 25 (15)) account in New York.



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                 (17)    On or about March 15, 2013, after receiving an email with the details for

  the purchase of a yacht for "[Co-Conspirator l]" for $281,051, RAUL GORRIN BELISARIO

  caused a payment of $281,051 to be wired from Company l's account in Switzerland to the yacht

  company's account in the Southern District of Florida.

                 (18)   On or about May 17, 2013, RAUL GORRIN BELISARIO caused a

  payment of $4 million to be wired from Company 2's account in Switzerland to Co-Conspirator

  l's fashion company's account in the Southern District of Florida.

                 (19)   On or about May 29, 2013, Foreign Official 1 emailed RAUL GORRIN

  BELISARIO a copy of an invoice for $117,062.15 for home improvement work on Foreign

  Official 1's home.

                (20)    On or about June 6, 2013, RAUL GORRIN BELISARIO caused a

· payment of $117,087.15 to be wired from Company 2's account in Switzerland to the home

 improvement company's (referenced in paragraph 25 (19)) account in the Southern District of

 Florida.

        .All in violation of Title 18, United States Code, Section 371.

                                          COUNT2
                           Conspiracy to Commit Money Laundering
                                     (18 u.s.c. § 1956(h))

         26.    Paragraphs l through 21 and 23 through 25 of this Indictment are realleged and

 incorporated by reference as though fully set forth herein.

         27.    From in ocaround 2008, through in or around 2017, in Miami-Dade County and

 West Palm Beach County, in the Southern District of Florida, and elsewhere, the defendant,

                                 RAUL GORRIN BELISARIO,




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  did knowingly and willfully combine, conspire, confederate, and agree with each other and with

  others known and unknown to the Grand Jury to violate Title 18, United States Code, Section

  1956(a)(2)(A), that is, to knowingly transport, transmit, and transfer a monetary instrument and

  funds to a place in the United States from and through a place outside of the United States with

  the intent to promote the carrying on of specified unlawful activity, that is, (a) violations of the

  Foreign Corrupt Practices Act under Title 15, United States Code, Section 78dd-2 and 78dd-3, and

  (b) offenses against a foreign nation involving bribery of a public official and the misappropriation,

  theft, and embezzlement of public funds by or for the benefit of a public official, in violation of

  Title 18, Uriited States Code, Section 1956(a)(2)(A), to wit, RAUL GORRIN BELESARIO

  agreed to transport, transmit, transfer, and cause to be transported, transmitted, and transferred

  funds from Switzerland to the United States, in furtherance of a scheme to pay and offer money

  and other things of value to foreign officials in Venezuela, including Foreign Official 1 and Foreign

  Official 2, to obtain and retain business for RAUL GORRIN BELESARIO.

         All in violation of Title 18, United States Code, Section 1956(h).

                                         COUNTS3-ll
                               Laundering of Monetary Instruments
                                   (18 U.S.C. § 1956(a)(2)(A))

         28.     Paragraphs 1 through 21 and 23 through 25 of this Indictment are realleged and

  incorporated by reference as though fully set forth herein.

         29.     From in or around 2008, through in or around 2017, in Miami-Dade"County and

  West Palm Beach County, in the Southern District of Florida, and elsewhere, the defendant,

                                   RAUL GORRIN BELISARIO,


  knowingly transported, transmitted, and transferred, and aided and abetted the transport,

  transmission, and transfer of, and attempted to transport, transmit, and transfer, a monetary

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  instrument and funds to a place in the United States from and through a place outside the United

  States, with the intent to promote the carrying on of specified unlawful activity, that is, (a)

  violations of the Foreign Corrupt Practices Act under Title 15, United States Code, Sections 78dd-

. 2 and 78dd-3, and (b) offenses against a foreign nation, specifically Venezuela, involving bribery

  of a public official and the misappropriation, theft, and embezzlement of public funds by or for the

 benefit of a public official, in violation of Title 18, United States Code, Section 1956(a)(2)(A),

 that is, on or about the following dates, as set forth in each count:
                                                                                                   ...
   Count      Approximate Date         Financial Transaction                                 '.

     3        November 13, 2012        Wire transfer in the amount of approximately $4.35 million
                                       from an account in Switzerland to an account located in the
                                       United States, specifically in the Southern District of Florida.
     4        December 12, 2012        Wire transfer in the amount of approximately $15,000 from
                                       an account in Switzerland to an account located in the United
                                       States, specifically the Southern District of Florida.
     5         January 30, 2013        Wire transfer in the amount of approximately $1,103,371
                                       from an account in Switzerland to an account located in the
                                       United States, specifically in the Southern District of Florida.
     6         February 7, 2013        Wire transfer in the amount of approximately $17 4,800 from
                                       an account in Switzerland to an account located in the United
                                       States,' specifically in the Southern District of New York.
     7         February 25, 2013       Wire transfer in the amount of approximately $150,000 from
                                       an account in Switzerland to an account located in the United
                                       States, specifically in the Southern District of Florida.
     8           March 7, 2013         Wire transfer in the amount of approximately $228,768 from
                                       an account in Switzerland to an account located in the United
                                       States, specifically in Southern District of New York.
     9          March 15, 2013         Wire transfer in the amount of approximately $281,051 from
                                       an account in Switzerland to an account located in the United
                                       States, specifically in Southern District of Florida.
     10          May 17, 2013          Wire transfer in the amount of approximately $4 million from
                                       an account in Switzerland to an account located in the United
                                       States, specifically in the Southern District of Florida.
     11           June 6, 2013         Wire transfer in the amount of approximately $117,087.15
                                       from an account in Switzerland to an account located in the
                                       United States, specifically in the Southern District of Florida.

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         In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

                                            FORFEITURE
                               (18 U.S.C. §§ 981(a)(l)(C) and 982(a)(l))

         1.        The allegations contained in this Indictment are re-alleged and incorporated by

 . reference as though fully set forth herein for the purpose of alleging forfeiture to the United States

  of certain property in which the defendant, RAUL GORRIN BELISARIO, has an interest.

         2.        Upon conviction of a violation of Title 15, United States Code, Sections 78dd-2

 and/or 78dd-3, or conspiracy to commit such violation, as alleged in this Indictment, the defendant

 shall forfeit to the United States any property, real or personal, which constitutes or is derived from

 proceeds traceable to such offense, pursuant to Title 18, United States Code, Section 981(a)(l)(C),

 which is made criminally applicable by Title 28, United States Code, Section 2461(c).

         3.       Upon conviction of a violation of Title 18, United States Code, Section 1956, as

 alleged in this Indictment, the defendan(§hall forfeit to the United States any property, real or

 person~l,    involved in such offense, and/or any property traceable to such property, pursuant to

 Title 18, United States Code, Section 982(a)(l).

         4.       .If any property subject to forfeiture, as a result of any act or omission of the

 defendant,

                  (a)   cannot be located upon the exercise of due diligence,

                  (b)   has been transferred or sold to, or deposited with, a third party,

                  (c)   has been placed beyond the jurisdiction of the Court,

                  (d)   has been substantially diminished in value, or

                  (e)   has been commingled with other property which cannot be divided without

                        difficulty,



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 the United States shall be entitled to forfeiture of substitute property under the provisions of Title

 21, United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

 982(b)(l).

        5.      The substitute property subject to forfeiture includes, but is not limited to, the

 following real property, together with all appurtenances, improvements, fixtures, easements and

 attachments, therein and/or thereon:

                      (1)   1241 Placetas Avenue, Coral Gables Florida 33146;

                      (2)   140 Paloma Drive, Coral Gables, Florida 33143;

                      (3)   144 Isla Dorada Boulevard, Coral Gables, Florida 33143;

                      (4)   18555 Collins Avenue, Unit 4401, Sunny Isles Beach, Florida 33160;

                      (5)   21055 Yacht Club Drive, Unit 2602,Aventura, Florida 33180;

                      (6)   21055 Yacht Club Drive, Unit 503, Aventura, Florida 33180;

                      (7)   4100 Salzedo Street, Unit 804, Coral Gables, Florida 33146;

                      (8)   4100 Salzedo Street, Unit 904, Coral    Gables~   Florida 33146;

                      (9)   4100 Salzedo Street, Unit 1010, Coral Gables, Florida 33146;

                      (10) 4100 Salzedo Street, Unit 608, Coral Gables, Florida 33146;

                      (11) 4100 Salzedo Street, Unit 807, Coral Gables, Florida 33146;

                      (12) 4100 Salzedo Street, Unit 809, Coral Gables, Florida 33146;

                      (13) 4100 Salzedo Street, Unit 811, Coral Gables, Florida 33146;

                      (14) 4100 Salzedo Street, Unit 813, Coral Gables, Florida 33146;

                      (15) 4100 Salzedo Street, Unit 903, Coral Gables, Florida 33146;

                      (16) 4100 SalzedG Street, Unit 909, Coral Gables, Florida 33146;

                      (17) 4100 Salzedo Street, Unit 913, Coral Gables, Florida 33146;



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                        (18) 20 W. 53rd St, 47A, New York, New York 10019;

                        (19) 310 E. 53th Street, Apt 24C, New York, New York 10022;

                        (20), 330 E. 57th Street, Apt 9, New York, New York 10022;

                        (21) 330 E. 57th Street, Apt 11, New York, New York 10022;

                        (22) 330 E. 57th Street, Apt 12, New York, New York 10022;
                                        --
                        (23) 60 Riverside Boulevard, PH 3702, New York, NY 10069; and

                        (24) 60 Riverside Boulevard, PH 3602, New York, NY 10069.

           All pursuant to Title 18, United States Code, Sections 981(a)(l)(C) and 982(a)(l) and the

    procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title 18,

    United States Code, Section 982(b)(l) and Title 28, United States Code, Section 2461(c).




                                1
    RANDY A. HUMMEL                                    SANDRA L. MOSER
    ACTING UNITED STATES ATTORNEY                      ACTING CHIEF, FRAUD SECTION
    ACTING UNDER AUTHORITY CONFERRED                   CRIMINAL DIVISION
    BY 28 U.S.C. § 515



                                                       v~
                                                       Paul A. Hayden
                                                       Trial Attorneys




                                                  16
                              UNITED STATES
     Case 9:18-cr-80160-WPD Document        DISTRICT
                                     3 Entered       COURT
                                                on FLSD Docket 08/17/2018 Page 17 of 18
                                          SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                            CASE NO.
v.
RAUL GORRIN BELISARIO                               CERTIFICATE OF TRIAL ATTORNEY*
                             Defendant.
                                                    Superseding Case Information:


Court Division:   (select One)                      New Defendant(s)                    Yes        No
                                                    Number of New Defendants
         Miami      _ _ Key West                    Total number of counts
         FTL       __x_ WPB               FTP
         I do hereby certify that:
                                           '
         1.      I have carefully considered the allegations of the indictment, the number of defendants, the number
                 of probable witnesses and the legal complexities of the Indictment/Information attached hereto.
         2.      I am aware that the information supplied on this statement will be relied upon by the Judges of this
                 Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                 Act, Title 28 U.S.C. Section 3161.
         3.      Interpreter:    (Yes or No)         YES
                 List language and/or dialect        SPANISH
         4.      This case will take           14   days for the parties to try.
         5.      Please check appropriate category and type of offense listed below:

                 (Check only one)                                    (Check only one)

         I       0    to 5 days                                      Petty
         II      6    to 10 days                                     Minor
         III     11     to 20 days                    x              Misdem.
         IV      21   to 60 days                                     Felony                   x
         v       61   days and over
         6.        Has this case been previously filed in this District Court? (Yes or No)    NO
         If yes:
         Judge:                                              Case No.
         (Attach copy of dispositive order)
         Has a complaint been filed in this matter?          (Yes or No)       NO ,
         If yes:
         Magistrate Case No.
         Related Miscellaneous numbers:
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of
         Rule 20 from the District of
         Is this a potential death penalty case? (Yes or No)            NO

         7. ·    Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                 prior to October 14, 2003?       Yes                      No X




*Penalty Sheet(s) attached                                                                                 REV 5/3/17
Case 9:18-cr-80160-WPD Document 3 Entered on FLSD Docket 08/17/2018 Page 18 of 18




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

  Defendant's Name: RAUL GORRIN BELISARIO



  Count#l:

  Conspiracy to Violate the Foreign Corrupt Practices Act

  Title 18 United States Code 371

  *Max. Penalty: Five (5) years' imprisonment

  Counts #2:

  Conspiracy to Commit Money Laundering

  Title 18, United States Code, 1956(h)

  *Max. Penalty: Twenty (20) years' imprisonment as to each count

  Count #3-11:

  Laundering of Monetary Instruments

  Title 18, United States   ~ode,   1956(a)(2)(A)

  *Max. Penalty: Twenty (20) years' imprisonment




   *Refers only to possible term of incarceration, does not in dude possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
